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       1             IN THE DISTRICT COURT OF THE ELEVENTh

       2         JUDICIAL DISTRICT OF THE STATE OF MONTANA

       3              IN AND FOR THE COUNTY OF FLATHEAD

       4   CAUSE NO, DV-97-87

       5   MARY RUTH ALBERT, individually
           and as Personal Representative
    6      of the Estate of THOMAS 0. ALBERT,
           Deceased,
    7
                      Plaintiffs,
    8
                vs
    9
           W.R. GRACE & CO.-CONN., a
   10      Connecticut corporation,

   11                 Defendants,

   12

  13
                             D E p 0 S I T I 0 N
  14
                                       OF
  15
                              MARY RUTH ALBERT
  16
                          (On Behalf of Defendant)
  17

  18

  19
                       Taken at the Law Offices of
  20            McGarvey, Heberling, Sullivan & McGarvey
                             945 South Main
  21                       Icalispell, Montana
                        Thursday, August 26, 1999
  22                             9:00 a.m.

  23

  24
             Reported by Debra M. Hedman, RPR, RMR, and Notary
  25          Public for the State of Montana, Flathead County
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                                                                             11



       1    talking about children.

       2               A     Yeah.

       3               Q     with regard to your children, you have

       4    three of them living here and you see them quite

       5    frequently, do you?

       6              A      Uh-huh.

       7              Q      Yes?

       8           A         Yes.

       9           Q         Now, during the time    --   Well, when was the

  10       last time that any of your children were dependent

  11       upon you or your husband for support?

  12               A         They are all in their 40s, so     --   It has

  13       been a long time.

  14               Q         Did they sort of move out when they

  15       were    --      got out of high school?

  16               A        Yes.     I had three of them join the

  17       service.

  18               Q        And then when they got out of. the service

  19       they led their own lives, sort of away from the

  20       home?
  21               A        Yeah.

  22               Q        Okay.    And they would come back and visit

  23       from time to time, obviously?

 24               A         Oh, yeah.

 25               Q         Now, my recollection from looking at the
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                                                                        12



       1    records that I have is that your husband was

       2    involved primarily in the logging business while he

       3    was here in the Flathead?

       4            A    Uh-huh.

       5            Q    Didhe-

       6         A      Yes.

       7         Q      Did he have any kinds of jobs?

       8   Mechanicking?

       9        A       No.     No.   He was   --   He worked in the

  10       woods.

  11            Q       At least at one point in time, when I was

  12       looking at the medical records, it indicated that he

  13       was a loader operator; is that what he preferred to

  14       do in the woods?

  15            A       Oh, yeah.

  16            Q       What I want to do is to go through a

  17       couple of areas relating to your husband, but before

  18       I get to that I would like to ask you some questions

  19       about yourself.       Do you have any significant health

  20       difficulties?

 21             A       No.

 22             Q       Okay.    Have you had any kind of lung or

 23        pulmonary problems?

 24             A       I had pneumonia in March.         That’s the

 25        only--
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                                                                                   13



       1            Q         Other than that you’re in good physical

       2    health?

       3           A          I would say fair.      You know.

       4            Q         Okay.     Any serious problems at all?         You

       S   know,        we all have our occasional colds and our aches

       6   and pains, but as we get older              --    as some of us get

       7   older        --   but do you have anything that is more

      8    serious than that?

      9            A         I don’t think so.

  10               Q         Okay.      Good.   Have you ever been involved

  11       in an action like this before               -    a personal injury

  12       action?

  13               A         No.

  14               Q         Was your husband ever involved in one?

  15               A         No.      He was on workers’ comp a couple

  16       times, but that was all.

  17            Q            Yeah, those were for minor things         - -




  18.           A            Yeah.

  19            Q            --    that he would just have some medical

  20       treatment and maybe a little bit of time off and

  21       then he would go back to work?

  22            A            Yes.

 23             Q            Okay.     I saw mention of the fact that he

 24        was going to apply for some Social Security

 25        benefits.          Did he in fact apply for those?
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                                                                                     14



       1           A            Uh-huh.        Yes.

       2           Q            And was he awarded benefits?

       3           A            He had    --   After his surgery, he      --    I think

       4   he got one regular Social Security check and then he

       5   was put on disability.

       6           Q            Okay.     Now,    are you the recipient of

       7   Social Security payments now?

       8        A               I get a widow’s benefit, yes.

       9        Q               And as I recall, you said you had

   10      worked      -   -    Are you aware of any exposure that you

   11      have had or that your husband had in the household

  12       to asbestos?

  13                                      MR. SULLIVAN:       Well,    I’m going to

  14       object.             It’s an ambiguous question.            Are you

  15       referring to asbestos from Zonolite or are you

  16       referring to asbestos from another source?

  17                                      MR. GRAHAM:      Yeah.

  18       BY MR. GRAHAM:

  19            Q              To asbestos        -   Let me talk to you about

  20       specific items.               Asbestos tile in the floor?

  21           A               No.

  22           Q               Okay.     Not that youre aware of?

  23           A               No.

  24           Q               How about asbestos ducting or insulation?

  25           A               In any of our homes, you mean, or
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                                                                              15



   1    anything?

   2         Q      Yes.

   3         A      No,        I don’t   --    There was a lot of homes

   4    insulated with that years ago, but I don’t believe

   S    weever-

   6         Q      Okay.

   7         A      I don’t know.             Because we never tore out

   8    the walls or      --




   9         Q      Sure.

  10         A      You know.

  11         Q      To. your knowledge, did your husband ever

  12    work with any asbestos types of materials, other

  13    than the asbestos to which he might have been

  14    exposed from Zonolite?

  15         A      No.

  16         Q      Okay.       Were you ever at the         -   -   I have the

  17    dates which I believe were your husband’s employment

  18    dates at    -   &ctually it was Zonolite at that time.

  19    And I have him starting at              --   on May 5th,      1960, and.

  20    working until May 28th,           1962.      Does that sound about

  21    right to you?

  22         A      Right.

  23         Q      Were you ever up at the mine or mill

  24    during that period of time?

  25         A      You know; I think I must have gone up at
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                                                                              16



       1    least once to see what it was.             You know.

       2          Q            Do you have any current impression as to

       3   what you saw?

       4          A            It was so long ago, I don’t recall.

       5          Q            A lot of these questions I’m going to be

       6   asking you are           --   there is no right answer to them,

    7      and if you don’t remember, that’s as important to me

    8      as whatever you saw.             Because all I’m trying to find

    9      out is what you might testify to if this matter goes

  10       to trial.            Were you aware of the jobs that your

  11       husband was performing at Zonolite?              Did you talk to

  12       him about those jobs?

  13              A            I knew what he did.

  14              Q            And what’s your understanding of what it

  15       was he did?

  16              A            They all started out as sweepers, as far

  17       as I   --   I’m sure that most of them did.             He swept

  18.      fo a.couple of. months.             Then he worked on

  19       construction and Tom DeShazer was his boss.                 And

  20       then he     -   -    I think they bid on this dump truck and

  21       Euclid job.            Then he worked there driving Euclid.

  22              Q            The figures that I have are one month as a

  23       sweeper, twelve months on construction, four months

  24       as dump man, and eight months as a Euclid operator.

  25       Does that sound okay?
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                                                                      17



       1        A     That sounds about right.

       2        Q    Did you have any    --   While he was working

       3   there, did you have any close friends who were

       4   either workers at Zonolite or the spouses of workers

       5   at Zonolite?

       6        A    Not real, real close friends.

       7   Acquaintances.

   8            Q    ind who do you remeñiber that would have

       9   been acquaintances?

  10            A    I remember Stu Cannon and his first wife.

  11       Lee Skramstad.     He worked up there,    I think, the

  12       same time Tommy did.     Ron Halsey.     Rub Fellenberg,

  13            Q    Okay.    Now, when you moved here, which

  14       would have been a few years after your huSband last

  15       worked at Zonolite, did you maintain contact with

  16       any of those folks?

  17            A    Fellenbergs.

  18            Q    .Okay.   And do you still maintain contact?

  19            A    Not anymore.     His wife died and I haven’t

  20       seen Rub for a long time.

  21            Q    Quite a while?

  22            A    Quite a little while.

  23            Q    And how about Stu Cannon?       Because Stu is

  24       actually here in town now.

  25            A    We knew Stu and his first wife.
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                                                                                 19



       1           Q         Yeah.   Okay.          What was his clothing like

   2       when he came home?

   3               A         It was dirty, dusty

   4               .Q        Did the two of you have some sort of a

   5       normal procedure with regard to how you took care of

   6       his clothing when he came home?

   7               A         Oh, I usually took them off in the

   8       bedroom      -,    or he did, and I would put them in the

   9       laundry basket.           I,nd he would shower and put his

  10       clean clothes on,

  11               Q         s what
                             1
                             That              --   So he would do that right

  12       when he came home?

  13               A         Yeah,

  14               Q     And then      -   -   Was it customary for him then

  15       to wear a different set of work clothes every day as

  16       opposed to wearing the same clothes more than once?

  17               A         He might have worn them two days.

  18               Q         But he would put them         --   He would cleanup

  19       when he got home, put them someplace, and then put

  20       those back on the next morning if he wore them two

  21       days?

  22               A         If he wore them two days, yes.

  23               Q     Did he wear coveralls at all?

  24               A     I don’t think he did.

  25               Q     Did he ride the bus back and forth to
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                                                                             20



       1   work?

       2           A         He must have, because I’m sure that he

       3   wouldn’t have driven an old car up there.               I don’t

    4      think       --   I don’t know if they let them drive their

           own vehicles.

    6              Q        See, and I’m not sure.     I think    --




   7            A           I wouldn’t think they would have.

   8            Q           I think it depended on the time and all of

   9       that, I think.            Did he ever talk to you about.

  10       wearing respirators?

  11            A           No.

  12            Q           So whether he did or he didn’t, you just

  13       have no knowledge?

  14            A           He had said, when he had gotten sick, that

  15       they had respirators, but they said they could wear

  16       them or they didn’t have to wear them.               And he said

  17       that they        --    you couldn’t hardly wear them, they

  18       would clog up.

  19            Q           Okay.     And this was something that he told

  20       you when he was sick?

  21            A           Uh-huh.

  22            Q           So that would have been 30-some years

  23       after he worked there?

  24           A            Uh-huh.    Yes.

  25           Q            Do you know why he told you that then?
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                                                                              21



        1            A    I don’t know.        I can’t recall.

        2            Q    Was that after the lawsuit was filed?

        3            A    It may have been.        Probably was.

        4            0    Did he say anything about whether he was

        5    issued a respirator?

        6        A        I assume that he would have been.

       7         Q       And his boss then was Tom DeShazér?

       8         A       On construction.

       9         .Q      On construction.

   10            A       Yes.

   11            Q       Do you know who his boss would have been

   12       when he was a sweeper?

   13            A       No.     I don’ t know.

   14            Q       Okay.     Anything else he said about

   15       respirators, other than what you have just said?

   16            A       No.

   17            Q       Okay.    Did he say anything about why the

   18       respirator would plug up?

  19             A       No.

  20             0       Did he describe for you how much dust

  21        there was up there ever?

  22             A       When he was a sweeper, yeah.

  23             Q       What did he say?
  24            A        Well, he just    --   I think   --   I don’t know.

  25        Probably just that it was a dusty job.
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                                                                        22




    1           Q     Yeah.    Okay.   Was that at the time or was

    2    that, again, later that he talked to you about that?

    3           A     Probably at thern time.

    4           Q     Did he   --   I talked with you about the

    5    people that you knew or the friends that you had           -   -




    6    acquaintances, I guess, was probably a better term,

    7    that worked there.         Did your husband have any sort

    8    of close friends of his own that worked there that

    9   perhaps you didn’t get to know very well?

   10           A     I imagine, yes.

   11           Q     Do you know who they might have been?

  12            A     He knew Stu Swenson.

   13                 Stu Cannon?

  14            A     Yeah, pardon me.      That’s somebody else.

  15     Stu Cannon    --   My mind.   And he worked up there with

  16    Les.

  17            Q     He would have worked with Les.      And Ron

  18    probably?

  19            A     Ron Halsey.      I don’t know if he worked at

  20     the same jobs as Ron did at the same time.

  21            Q     Was your husband raised there in the Libby

  22    area?

  23            A     He was born in Sidney and then I think

  24    they moved to Libby in about ‘46 or ‘47.

  25            Q     When was it that you first became aware,
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                                                                           23



   1     if you recall, of asbestos being a harmful or

   2    potentially harmful mineral?

   3             A     Oh,    gosh,    it was probably in the early

   4     ‘80s,

   S             Q     How did you hear about that?            Just over

   6     the media?

   7             A     Yeah,    I think so.

   8             Q     When did you hear fitst that you can

   9    recall that there was asbestos dust in the air at

  10    the Zonolite facility?

  11             A     Say that again, please.

  12             Q     When was it that you first became aware

  13    that there was asbestos in the dust at the Zonolite

  14    facility?

  15             A     I don’t know.         It was years   and years

  16    later.       We never knew      --




  17             Q     okay.     Did you ever askyour husband if he

  18    knew that there was asbestos there at the facility?

  19             A     !lo.

  20             Q     Did you ever hear of a type of asbestos

  21    called tremolite?

  22             A     I can’t    --   I can’t recall.

  23             Q    Did your husband talk about how dusty it

  24    was at places up there at Zonolite other than in the

  25    dry mill?
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                                                                                24



       1           A         I can’t       --   I don’t know if he ever said,

       2   but I       --   No, I can’t say this, because I assumed

       3   there was dust when he was driving the truck, but

       4   that’s, you know             --




       5           Q        No, and I understand that.          And   it’s



       6   something that it’s natural to assume because you

       7   knew that it wasn’t all paved up there?

       8        A           Yeah.

       9        Q           And so you would expect some dust, right?

   10      But he didn’t           --   You don’t have a recollection of

   11      him talking about a comparison between what the dust

   12      was like doing the sweeping job and what the dust

  13       was like doing some other job?

  14            A           No.

  15            Q           Did he ever mention anything about any

  16       kind of inspections or the State coming onto the

  17       project up there or anything of that nature?

                A           No.     Not that I remember.

  19            Q           Did he ever mention to you anything that

  20       he might have been told while he was working there

  21       concerning whether the dust was harmful or not?

  22           A            He    never.

  23           Q            Never?      Nothing in that regard?

  24           A            No.

  25           Q            Do you remember in any of your discussions
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                                                                                               25



       1   with Stu Cannon, Les Skramstad, Ron Halsey, Rubin

    2      Fellenberg or anyone else who worked up there at the

    3      time your husband did                     - -   do you recall any

    4      discussions with them of the work conditions up

    5      there       --




    6              A            No.

    7                           ——    ,‘,-   +-1,              t               141,      +1i+



    8              A            No.

    9              Q            Was your husband involved in any of the

   10      union activities while he was there?

   11           A               I guess he would have been a. union member,

   12      but I don’t remember                     --




  13            Q                   t remember him going of f to
                                You don

  14       meetings all the time?

  15            A               No.

  16            Q               Okay.         With regard to his clothing when he

  17       would bring it home, you said he would take it                                off
  18       and it would go into the laundry basket.                            Did it

  19       just the fact of his clothing being there                           -   -   create

  20       a particular dustiness in your house?

  21            A               I would imagine.

  22            Q               Do you have any recollection that it did?

  23            A               There was dust.             I don’t   --   I don’t know

  24       where it         -   -   you know.

  25            Q               At that time when you were in Libby, did
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                                                                         26



    1   you live on a paved street or was it a gravel street

    2    that went by your house?

    3         A     It was   - -   It was paved from the highway,

    4    and then there was a little road we went up that

    5    wasn’t paved into our       --   we had rock or        --




    6         Q     So you   --    Yeah, so you would have ended up

    7   with a little bit of dust from your driveway?

    8         A     I suppose, a little bit.

    9         0     Did you have a clothes dryer or would you

   10    hang the clothes outside to dry?

   11         A     I had a washer and dryer,

   12         Q     Okay.    Anything else you remember about

   13    the mill and the mine and the dustiness that we

   14   haven’t already talked about?

   15         A     I can’t think         --




   16         Q     Anything about your husband’s employment

   17    at Zonolite that we haven’t discussed?

   18         A     No.

   19         Q     Okay.    And it sounds to me,          it’s sort of a

   20    typical thing, you were busy during the day doing

   21   your things and he would go off to work and come

   22    back and about all you would really know is that his

   23    job was dusty because his clothes were dusty?

   24         A     Yes.

   25         Q     Did he ever complain to you about the
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                                                                               27



    1    dustiness that he had at his employment?

    2           A       I can’t remember if he did.

    3            Q      I’ve been around a lot of logging landings

    4    and those can get pretty dusty in the summertime,

    5    too.

    6           A      Yes.

    7            Q     Would you say that the dustiness of his

    8    clothing in his logging jobs in the summer was

    9    essentially the game as the dustiness of his

   10    clothing when he worked at Grace            -   -   or, at Zonolite?

   11           A       Probably comparable.

   12            Q     Yeah.        Okay.   Let’s talk about      --   Let’s

   13    talk about your husband’s health some.                  First of

   14    all    --   Oh, I have some statistics here.             He would

   15    have been born on July 7th, 1933; is that right?

   16            A      Right.

   17            Q      And you were born on November 18th,               1936?

   18            A      Right.

   19            Q      Married February 26,       1953.

   20            A      tjh-huh.

   21            Q      And I do have the date       -   -   There is a

   22    disability date of January 15th,            1996.       Does that

   23    sound about right?

   24            A      What   --    Say that again now.

   25            Q      A disability date for Social Security
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    1   purposes of January 15, 1996?

    2         A     Yes.

    3         Q     Okay.   It’s my understanding that your

    4   husband was diagnosed with colon cancer in 1989?

    5         A     ‘89.

    S         Q     And then had surgery in 1990 for it?

    7         A     Yes.

    8         Q     Before that time, other than sort of the

    9   normal dings that people get when they are working

   10    in the woods or working in industrial settings, had

   11   he had any significant medical problems?

   12         A     No.

  13          Q     I have down that he had an appendectomy or

  14    something like that back in 1970?

  15          A     Oh, gallstones.    And then they took his

  16    appendix out at the same time, which they normally

   17   do.

  18          Q     There is some mention in the medical

  19    records about him having some cardiac risk factors

  20    and some diffuse coronary disease.           Let me ask you

  21    this, before I ask you the question about the

  22    medical.    When he would go    --   from,   say 1989 on,

  23    when he was diagnosed with the colon cancer          --   when

  24    he would go in to the physicians, would you normally

  25    accompany hii and listen to what the doctors had to
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                                                                                       29



   1    say to him?

   2            A      After the surgery?

   3            Q      After the           -   -   After the colon surgery.

   4            A       We went to Dr.               Schmid in Missoula.         Judy.

   5    We went about twice a year for check-ups.

   6            Q       Okay.    What I’m             --




   7            A      Andlwentwith-

   8            Q      What I’m getting at is, when he went,                         for

   9    instance,       to Dr. Boyer or Dr. Schmidt or, you know,

  10    any one of his then-treating physicians, whenever

  11    they had a conference with him after he went to see

  12    them,       would you be with them                 -   -   with him in the

  13    conference with the doctors?

  14            A      No,   I   --       I don’t know about a conference.

  15            Q      Well,     I guess what I’m getting at is,

  16    sometimes doctors will do their examinations and all

  17    of that and then sit down with the patient and say,

  18    here is what I found out.

  19            A       Before the surgery.

  20            Q       Or did    -   -   Or at any time?

  2].           A       Or after.

  22            Q       Whenever you go to a doctor.

  23            A       I liked to be with him when he went to the

  24    doctors.

  25            Q       That’s what I was getting at.
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                                                                         30



    1        A      You know.

    2        Q      What I’m trying to find out is whether             --




    3   whether for the most part what the doctors told him,

    4   you were there to listen to?

    5        A      Probably.

    6        Q      Okay.   Now, with regard to his heart risks

    7   or any problems that he might have had with his

    8   coronary arteries    -   -   coronary disease, do you have

    9   any recollection of what the physicians would have

  10    said about that?

  11                         MR. SULLIVAN:          And I’m going to

  12    object on the basis of hearsay.

  13    BY MR. GRAHAM:

  14         Q      Go ahead.

  15                         THE DEPONENT:          Do I   answer?

   16                        MR. SULLIVAN:          Yes.

  17    BY MR. GRAHAM:

  18         Q      Yes.

   19        A      He had a test       --    I can’t remember what

  20    year it was, after his colon cancer.               He had that

  21    treadmill, Thallium.

  22         Q      Thallium test?

  23         A      Yeah.   And he had some heart blockage.

  24    Dr. Williams told us that.

  25         Q      And do you remember whether there was any
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       1   suggestion that he receive any treatment for that?

       2           A      No,     There was none.   They didn’t.

       3           Q      Now, when he had the colon cancer surgery,

    4      did he also have chemotherapy in connection with

    5,     that?

    6              A      He had chemotherapy once a week for a

    7      year.

    8              Q      After that surgery?

    9              A      After he healed up, yeah.

   10              Q      Okay.

   11              A      It was SPU,    it was called, and it was the

   12      type that I think he took 900 milligrams from an IV

   13      push at the doctor’s office and it didn’t make him

  14       sick and he didn’t lose, his hair.         He worked.

  15               Q     Worked throughout that period of time?

  16               A     Yeah.

  17               Q     Up until he became quite ill with the lung

  18       cancer, had he missed any significant period of: work

  19       from    --   for medical treatment?

  20              A      Before the lung cancer?      Pnd after the

  21       colon cancer?

  22              Q      Yes.

  23              A      No.

  24              Q      How about even before the colon cancer?

  25              A      I can’t think of anything major or
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    1    anything like that.          He was healthy.     He was a

    2    healthy person.       Strong.

    3         Q      A day off here or there?

    4         A      Not very often.

    5         Q      Okay.     Now, he would have time off during

    6    break-up?

    7         A      Uh-huh.        Yes.

    8         Q      There was some comment in the medical

    9    records about the fact that he. enjoyed his work and

   10    that he didn’t really even want to take time off and

   11    go on trips or anything because he enjoyed his trips

   12    in the woods.       Did you guys go on trips?

   13         A      Trips?     We went camping and stuff like

   14    that, you know.

   15         Q      Did you?        Did you have a camper?

   16         A      Yeah.

   17     .

              Q      Or did you have a tent camper?

   18         A      No, we,had campers.          And we never went   -




   19    very far.

   20         Q      Go on the weekends or something like that?

   21         A      Yeah.     He    --    Like I told Roger, he had had

   22    a picnic every day up in the woods.             He didn’t

   23    especially care about going on the weekends.

   24         Q      Going back up?

   25         A      Going back out.
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    1    nodule in his upper right mid lung field was first

    2    identified in October of 1994.             Does that sound

    3    about right?

    4         A     Nodule on his lung?

    5         Q     Yeah,    the cancer first showed up in his

    6    lung in 1994.

    7                          MR.    SULLIVAN:     I’m going to object

    8    on the basis that the medical records speak for

    9    themselves and that the diagnosis of cancer is in

   10    the medical records.        And I would object on the

   11    basis of foundation.

   12    BY MR. GRAHAM:

   13         Q     Let me just ask you the question then

   14    differently.      When was it that you first became

   15    aware that your husband had been diagnosed with any

   16    kind of lung cancer?

   17         A     It was December,         I believe, of   ‘95.

  18          Q     December of ‘95?          And

  19          A     Yes.

  20          Q     And then it was sometime not too long

  21     after that that he had his operation?

  22          A     January of ‘96.

  23          Q     January of       ‘96.    And then he went through

  24     another couple bouts of chemotherapy,           did he?

  25         A      And radiation.
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    1            Q      And radiation therapy?                 And then he had

    2    new cancer showing up as a result of that old

    3    cancer?       Or   -   -




    4            A      I do&t know.

    5            Q      Okay.

    6            A      I don’t know.

    7            Q      Was he at home most of the time after that

    8    operation?

    9            A      Yes.

   10            Q      And did he         -   -.   Was he able to work after

   11    that operation?

   12            A      Hu-hub.       No.

   13            Q      Did he work right up to that operation?

   14            A      Yeah, I think he did.

   15            Q      That’s what I gathered,                 that he worked up

   16    until that operation but was unable to go back to

   17   work after the operation?

   18            A      Yeah.       Yes.

   19            Q      And did he remain at home until his death

   20    then?

   21            A      We went on one trip.

   22            Q      Down to Denver actually?

   23            A      Yeah.       To our son’s          --   our youngest son

   24   got his Master’s degree, and he was not well when he

   25    went.       But he said that if he didn’t go,                 it would   --
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    1    he said it would probably be his last.

    2            Q      And he had some problems down there, as I

    3    recall, from the medical records?            Needed some

    4    medical treatment down there?

    5            A      No.

    S            Q      Or maybe not medical treatment.          Did he

    7    have to go into a hospital or nursing home or

    8    anything?

    9            A      No, 1 kept him at home.

   10            Q      Kept him at home.       There is some notation

  11     that he was on a morphine pump or something like

  12     that.       How long would he have been on that?

  13             A      Well,   let’s see.     He was on lots of

  14    painkillers and Marinol even.             You know.     We thought

  15     that would maybe make him feel better.               Which it

  16    didn’t.                    t recall exactly how long
                        And then I can

  17    he was on the morphine pump for sure.             I had

  18    hospice.

  19             Q      Oh, hospice assisted?

  20             A      Yeah, and home health.

  21             Q      Can you describe for me how well the pain

  22    was controlled, as you observed it?

  23             A      On the little pump, the little box, you

  24    know, it had a sub Q needle in his stomach, and if

  25    the pain       --   if it wasn’t givihg him enough
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    1    automatically, then there was a button that you

    2    could punch and it would give you an extra dose.

    3   And then hospice would look at that inside and see

    4    how many punches you made extra, and if it was a lot

    5    then they would     - -




    6           Q   Adjust it?

    7           A   --   they adjusted the morphine up.              Yeah.

    8           Q   Okay.        I’ve just never had any experience

    9   with the morphine pump or this kind of disease at

   10    all.

   11           A   Yeah.        It works   --   It works pretty good,

   12   you know.

   13           Q   There comes a point in time,               I understand,

   14   when the morphine starts interfering with your

   15   ability to think and communicate and talk and that

   16    sort of thing.     Did it get to that point or             --




   17           A   Yeah.

   18           Q   Didit?

   19           A   Yes.

   20           Q   Did that        --




  21            A   Not too bad, but he           --   the Saturday night,

   22   before he died      --     I do&t know if I told you this.

  23    He raised out of his bed and the               --   hospital bed and

  24    I said, Tommy,      I said, You lay back down now.               And

  25    he got up out of the bed and he came after me.                    And,
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    1       you know      --   I don’t think I told you that, did I?

    2       And he   --    He was coming after me, but he didn’t

    3       know, you know.

    4            Q        Yeah, I’ve actually had that similar

    5       experience where it’s like a nightmare sort of

    S       situation for them.         I think they call it

    7       confabulation or something where they            -   -    the patient

    8       imagines a whole set of things that aren’t there.

    9            A         I was a son of a bitch.

   10            Q         You were the enemy?

   11            A        Yeah.

   12            Q         I’ve been in that role, too.

   13            A         He didn’t last very long, though.                That

   14       was two days before he died.              It was&t long, he was

   15       laying on the floor.

   16            Q         That was the worst that it got as far as

   17       that mental thing?

   18   -
                 A         Yeah.    Yeah.

   19            Q         tip until that point in time, were you able

   20       to visit and talk with him?

   21            A         Somewhat.    He had   --    He would have some of

   22       the guys that he worked with come, but they didn’t

   23       come until real late.           I guess they didn’t realize

   24       he was as bad as he was, and he didn’t               --       they

   25       couldn’t stay very long because he just                  --
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    1         A          Yeah, and Im sure that they would have

    2   wanted him to because he was good at his job.                    And

    3   he was     - -   He worked every day.

    4         Q          Did he have         --   Did he ever go Out Ofl his

    5   own in the logging contracting business?

    6         A          Yes, about in 1980 I think it was we had a

    7   couple machines,         loaders,, and then that was about

    8   the worst year for logging that there was.

    9         Q          The wrong time to go out?

   10         A          Oh, gosh, yes.

   11         Q          And then after that he worked for wages?

   12         A          Yeah.   He worked for          --   Then he went to

   13   work for Stoltze.

   14         Q          And had worked for Stoltze then for over

   15    ten years?

   16         A          I was trying to think how long it was.

   17    Fourteen?        Fourteen   -   -    I thought it was fourteen

   18    years.

   19         Q     ‘    Up until the time he got lung cancer, did

   20    he ever complain or did you ever observe him being

   21    short of breath?

   22     ,   A          No.

   23         Q          And it wasn’t until they removed a sizable

   24    portion of one of his lungs that he became short of

   25    breath?
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    1           A     Uh4iuh.      Yes.

    2           Q      Did he recover from that shortness of

    3    breath?

    4           A      No.     He couldn’t take a shower even.

    5           Q      Yeah, because he had so much lung volume

    S    gone   --   You don’t know medically why it was?

    7           A      No, but I know they took a lot of it out.

    8           Q      Was he ever on oxygen?

    9           A      Toward the end he was.

   10           Q      Was it the thing up the nose?

   11           A      Yeah.     Yes.

   12           Q      Can you estimate when it was in relation

   13    to his operation that he became bedridden?

   14           A      I think I had the hospital bed only

   15    aJout a week, but we had a big circular davenport

   16    and he would try to sleep on one end and I would

   17    sleep on the other end.          And he never slept.       He

   18    couldn’t sleep very good.          He couldn’t   --    He had,

   19    pills and stuff, but even with the morphine he

   20    couldn’t rest.

   21           Q      Would he get up and move around or          --




   22           A      Yeah.     Walk around.   Lay back down.          Get

   23    in the recliner.         And he still couldn’t    --




   24           Q      Just restless?

   25           A      Very, very restless.
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    1         Q     Did he         -   -   How long do you think that he

    2    would have been on oxygen?

    3         A     Probably               -   I think they brought it out

    4    about the same time they brought the hospital bed.

    5         Q     So it would have been the last week or so?

    6         A     Week and a half, something like that.

    7         Q     J\nd was the morphine pump longer than that

    8    or was that about the same time?

    9         A     No, that was a little longer.                  I cant

   10    recall exactly how long, but                 - -




   11         Q     Weeks longer or months longer?

   12         A     Oh, a couple of weeks longer.

   13         Q     I’m sure that we have the information

   14    someplace, so     -   -




   15         A     I just         ca&t remember.

   16         Q     Had he ever been on any kind of inhalents

   17    before he went on oxygen to improve his breathing?

   18         A     No.

   19         Q     Okay.          While your husband was working at

   20    Zonolite, was there ever any discussion which you

   21    became aware of of the fact that former employees or

   22    current employees were having respiratory problems?

   23         A     At the time he was working there?

   24         Q     Yes.

   25         A     No.        I cant recall.
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        1           Q      How about afterward?          Did you hear that

       2    people had had respiratory problems that had worked

       3    at the facility?

       4            A      We knew of one man, this was         --   His name

       5    was Shorty Welch.         I can’t remember what his         --




       6            Q      Lilas is what his       - -




       7            A      Oh yeah.

    8               Q      Lilas was his     - -




    9               A      I knew he had something wrong with his

   10       lungs.       We called it   --   or, they called it or

   11       somebody called it black lung.               You know.    But

   12       that’s about all.

   13              Q       Yeah, he actually had an Occupational

   14       Disease Act hearing here in Kalispell in 1967.                   Were

   15       you aware of that hearing or anything like that?

   16              A       Hu-huh.    I don’t even know when he died or

   17       anything.       I   cant remember.
   18              Q       Up until the time that you filed suit or

   19       were in contact with attorneys concerning this

   20       particular matter, were you aware of anyone at

   21       the   - -   anyone who had worked for Zonolite who had

  22        died of lung cancer?

  23               A      Who had died of lung cancer?

  24               Q      Yeah.

  25               A      No.
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        1         Q    Or who was ill from asbestosis or any

        2    asbestos-related disease?     Other than   --   Well,      I

        3    guess with Shorty Welch you just heard black lung,

        4    not asbestosis.

        5         A    That was years ago.       Les Skramstad.

        S         Q    Okay, when Les had it, you became aware of

        7   it?

        8         A    I read it when I was over at Libby in the

        9   paper.

   10             Q    Oh,   when his trial was?

   11             A   Yeah.    And then   --   That’s the only     --




   12             Q   That would have been the first person that

   13       you were aware of that had asbestosis?

   14             A    (Deponent nods head.)       I think   --   I think

   15       so.

   16             Q   That’s fine.

   17                           MR. GRAHAM:     That’s all I have.

   18       Thank you very much,

   19                           MR. SULLIVAN:     Thank you.

   20                           THE DEPONENT:      Is that it?

   21                           MR. GRAHAM:     Yeah.
   22                 (Whereupon,    the deposition of MARY RUTH

   23       ALBERT was concluded and signature was reserved.)

   24

   25
